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EXHIBIT A

 

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To: Linda Young

Emigrant Savings Barlk

Service of Process
Transmitta|
05/29/2013

CT Log Number 522820223

5 East 42nd St., 28th Floor

New York, NY 10017 `

RE: Process Served in Massachuse¢ts

FOR: Retained Realty, inc. (Domestic State: N\')

ENCLDSED ARE COFIES DF LEGAL PHOOESS RECE|VED BY THE STATUTORY AGENT 0F THE ABOVE COMFANY AS FOLLOWS:

TITLE OF ACT|ON:
DOCUMENT(S) SERVED:

CGURT!AGEN C¥:

NATURE OF ACT!ON:

ON WHOM PROCESS WAS $ERVED:
DATE AND HOUR OF SERVlCE!
JLIR|SBICTION SERVED :
AFPEARANCE DR AN SWER D'UE:

ATTDRNEY{S) l SENDER(S]:

ACTION lTEMS:

SIGNED:
PER:
AD DR‘ESS:

TELEPHONE:

Mari;in and Doneyn Bnurke, Pltfs. vs. Retained Roali;y, lnc., et al., ths.
Summons, Compiaint, Statement, Cover Sheei;(s}, Lett'.er

Nanl;ucket Counb/ Superior Court, Nantucket County, MA
Case /¢ 1213NACV0021

Foreclosure litigation - Morr.gage - Dei'endant may claim an interest
C ‘i' Corporai:ion System, Boston, MA

By Process Server on 05/29/2013 at 12:41

Massachusetts

Wii:hin 20 days after service, exclusive of the day of service

Jamie Ranney

Jamie Ranney, PC

4 Thirty Acres Lane
Nantucket, MA 02554
508.228.9224

SOP Pa§)ers with Transmittal, via Fed E)< 2 Day , 799887913746
image OP
Email Notification, Linda Young youngl@emigrant.corn

C T Corporation System
Dahrleria Mitcheil

155 Federal Street
Suite 700

Boston, MA 02110
617-757-6404

Pageiof 1/SM

lnformation displayed on this transmittal is for CT Corporation's
record keeping purposes only and is provided to the recipient for
quick reference. This information does not constitute a legal
opinion as to the nature of aclion, the amount of damages, the
answer date, or any information contained in the documents

themselves Recipient is responsible for interpreting said
documents and for taking appropriate actinn. Signaiures on
certified mail receipts confirm receipt of package only, not
conlents.

E 'I`O DE`FENDANT -- You need not appear personally in court to answer the complaint but ifyou claim to have a

NOTIC

defensr:,

eitheryou oryour arco moy must serve acopy oiyourwri`cten answer within 20 days as specified herein and also tile thc

original in thc Clc_rk`s Oi`iicc.

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COMMONWEALTH OF MASSACHUSE'ITS

NAN'IUCKET, ss.

SUPE.RIOR COURT
(soal) CIVIL ACTION
NO, l 3"2 l
......... M m&BUeWBM¢_.. , Piaintif`f (5)
V.
s ..,.R@g&ined.ge&}q;.’..[n@:,.m..ai_ ................................. , Det`endant (s)
l
SUMMONS
To the aboved- named Deféndant: gelain Reaky, Inc

Yo\x are hereby summoned and required to serveupon.. ...iamiB R.ann€y.,E-.Squirz......
plaintiffs ammey, whose address iii¢l°i`lzirty Acres Lano Nantucket, MA 02554

an answer to the complaint which is herewith served upon you, within 20 days after servicc,
of this summons upon you, exclusive of the day of service. l!` you fail to do so, judgment
by dofauit will be taken against you for the relief demanded in the complaint You are
also required to tile your answer to the complaint in the office of the Clerk of this court
at Nantuckct, either before service upon plaintist attorney or Within a reasonable lime
thereafter,

Unless otherwise provided by Rulc 13(;1), your answer must state as a counterclaim
any claim which you may have against the plaintiff which arises out of the transaction or
occurrence that is the subject matter of the plaintist claim or you will thereafter be barred
from making such claim in any other actioo_

Wime“ B§i’b§r§ ti._, House

 

 

 

 

............... Esqmre, at Nantucket, menst
day ot'....,.MHy. .......................... -, in the year of our Lord 26; 3
A?i_,h:e Qq§;-»Atwsi d -
-Conswi? fn Cfcrk

NOTES: m é::@§

I. This summons is issued pursuant to Rule4 ofthe Massachusctts Ruies ofCivil Procedure.

2 When more than one defendant' rs involved the names of all defendants should appear in the

capi:ion~ ~if a separate summons is used for each defendant each should be addressed to the

particular defendant ll

3. To Plaintiff’s Attorne.y: please ciroic type ofection invoived (1) Ton - (2) bilath Vehicle Tort -
{3) Contract - {4) Equit§ble Reli.c{`|i- {5) Other. v

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PROO`F oF SERWCE oF PRocEss
l hereby certify and return that on.....-.e....-.~.; .............. . l served a copy of the
within summons, together with a copy of the complaint in this action. upon the within-

named defendant. in the following manner (See Mass. R. Civ. P.4 (d)(l~$):

 

 

Dated.'

 

N.B. 'I`O PROCESS SERVER:

PLEASE PI..ACE DATE YOU MAKE SERVICE ON DEFENDANT lN THIS BOX ON THE
ORIGWAL AND ON THE COPY SERVED ON DE)F`ENDANIT

 

 

 

 

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COMMONWEALTH OF MASSACHUSE'I'I`S

 

 

TRIAL COUR'I`
NAN'mCKET, SS Superior Co\n’t Dept.
2013NACV -OO § l
Martin and Doneyn Bourke )
Plaintifc`s ) "~ " " ` “_"'"' *~“" -
v, ) l Fl L 5 D
Retained Realty, Inc., Stephen P. ) Fm h_ "` ` ‘
Hayes, Hayes &. Hayes, Attomeys ) §
At Law, Pc, ) f ,'_“H_ . .-
Defendants ) ; NANTucKET §U'P`€é`l`os l
) L__ -___n:z;ynLHL' *
COMPLAINT

NOW COMES the Plaintif£s, Martin and Doneyn Boud§e (collecu`vely the “Bourkes”) in
the above-entitled action and pursuant to Massj'R Civ. P.'brings their complaint against
Retained Realty, Inc., Stephen P. Hayes and the law firm of Hayes & Hayee, Attorneys at
Law, PC (`mdividua]ly “Retained”, “Attomey Hayes”; “Hayes & Hayes”, or collectively
“Defendants” as the case may be). In support thereof, the Bom'kes further state as
follows:

I. FACTS
1.) 'I'he Bourkes are natural persons with a residential address of 6 Arkansas Avenue,

Nantuc.ket, MA 02554.

2.) Steph¢n P. Hayes is a naruml person with a business adm of 23 Easr Main

Street, West Yarmouth, MA 02673.

3.) Hayes & Hayes, Attorneys at Law, PC is a professional corporation organized
under the laws of the Commonwealth of Massachusetts with a business address of 23

East Main Street, West Yarmouth, MA 02673.

4.) Hayes is a shareholder of Hayes & Hayes.

 

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5.) Retained Realty, lnc., is a foreign corporation organized under the laws of the
state ofN¢w York with a business address ofs E. 42"‘* screen NY, NY 10017 and a
resident agent for service of process of CT Corporation System, 155 Federa.l Street; Suite
700, Boston, MA 02110.

6.) The Bourkm, as borrowers under a residential loa.n., are “consumers” as that term
is defined by G.L. c. 93A (“Chapter 93A”).

7.) By letter dated February 21, 2013, Attorney Hayes and Hayes & Hayes sent a
letter to the Bourkes on behalf of Retained

8.) The February 21, 2013 letter, entitled “Notice to Vacate” (hereinafter the “Notice
to Vacate” or “NTV” as the case may be), stated, among other things, that the Bourkes
property had been foreclosed on in March 2011, that Retained had purchased the property
at the purported foreclosure sale and thi‘it"'die`Boufke`°s were required to vacate the
premises

9.) The Bourkes deny that their home Was lawfully foreclosed on in March 2011 or at
any time.

10.) The Bourkes’ rescinded their loan under applicable law in January 2011 and
notijied all counsel related to the foreclosure process of such rescission

ll.) The N I V sent by Attorney Hayes and Hayes & Haycs stated that the Bourke’s
Were liable for “use and occupation” payments of $100.00 commencing on April l, 2011.

12.) Between the purported foreclosure sale in March 2013 and the date of the N'l V,
almost two (2) years later, no demand was ever made by Retained to the Bourkes for

moneys due for “use and occupation” charges

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13.) With respect to the demand for an alleged debt due for “use and occupancy” in
the NTV, Attomey Hayes and Hayos & Hayes acted/are acting as “debt collectors” as
that term is defined under the Fair Debt Collection Practices Act (“FDCPA”) at 15 U.S.C.
1692, et seq., the Massachusetts F air Debt Collection Practices Act (“MI"DCPA”) at G.L.
c. 93. s. 49 and the MA Attomey General’s regulations at 940 CMR 7.00, et seq.

14.) Retained, as the entity that purportedly owns the Bourkes home and who seeks to
collect an alleged debt due for purported “use and occupation” payment(s) from the
Bourkes, is considered a “creditor” as that term is deiined by 940 CMR 7.00, et seq.

15.) Thc $100.00 per day “use and occupation” charge is/was an attempt to collect a
purported “debt” as that term is delined by 940 CMR 7.00.

16.) The amount(s) claimed by Rctained for “use and occupation” purportedly
relate(s)/related to moneys claimed to be due 'to" Re`tained &om the Bourl<es alter a
purported non-judicial foreclosure of a loan on the Bourkes’ real property.

17.) The $100.00 per day “use and occupation” payment amount asserted to be due to
Retained is/was not an amount based in fact or in law.

18.) 'I`he $100.00 per day “use and occupation” payment amount asserted to be due to
Retained is/was not an amount shown to be due from the Bourkes.

19.) `Attorney Hayes did no investigation of the daily “use and occupation” value of
the Bourkes’ property before making his demand on the Bourkes for the $100.00 per day
“use and occupation” charge

20.) Attorney Hayes did no investigation of the daily “use and occupation” value of

the Bourkes’ property before stating unequivocally that the Bourkes “are liable” for a

$100.00 per day ‘Hise and occupation” charge

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21 .) Hayes & Hayes did no investigation of the daily “use and occupation” value
before making demand on the Bourkes for the $100.00 per day “use and occupation”
charge

22.) Hayes & Hayes did no investigation of the daily “use and occupation” value
before stating unequivocally that the Bourkes are “liable” for a 5100.00 per day “use and
occupation” charge.

23 .) Retained did no investigation of the daily “use and occupation” value before
making demand on the Bourkes for for the $100.00 per day “use and occupation” charge
24.) Retained did no investigation of the daily ‘hlse and occupation” value before
stating unequivocally that the Bourkes “are liable” for a $100.00 per day “use and
occupancy” charge.

25.) Prior to sending the NTV to the Bourkes, Attomey"Hayes never spoke to anyone
at Retained about the $100.00 per day “use and occupancy” charge he asserted the
Bourkes Were “liable” for.

26.) Prior to sending the NTV to the Bourkes, Attorney Hayes never spoke to any real
estate professional about the $lO0.00 per day “use and occupation” charge he asserted the
Bourkes were “liable” for.

27.) Prior to sending the NTV to the Bourkes, Attorney Hayes never spoke to anyone
about the $100.00 per day “use and occupancy” charge he asserted the Bourkes were
“liable” for.

28.) The $100.00 per day “use and occupancy” payment amount was created designed
and demanded -without any basis in law or fact - and then published and served on the

Bourkes by Attomey Hayes in order to harass, frustrate and intimidate the Bourl<es and to

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improperly coerce and put financial and other pressure on them to get them to leave the
premises before judicial process was commenced

29.) As an agent for Retained and acting on their behalf, Retained is/are liable for the
acts of Attorney Hayes and Hayes & Hayes.

30.) The creation, assertion, demand, publication and serving on the Bourkes of a
made-up $100.00 per day “use and occupation” charge - when such an amount had no
basis in law or fact, was never demanded between March 2011 and February 2013, was
never investigated, was untimely, was unsupported by any reasonable knowledge and
was not a debt yet due or could yet be due - is/was an unfair and deceptive act or practice
as deined by Chapter 93A.

31.) The creation, assertion, demand, publishing and serving on the Bourkes of a
made-up $1`00;00 per `day “use and occupancy” charge in the‘NTV - when such an
amount had no basis in law of fact and was not a debt yet due or could yet be due -
violates/violated the FDCPA, MFDCPA and/or 940 CMR 7.00 in at least the following
ways:

a.) As communicated in the March 3, 2013 Chapter 93A demand letter detailed
below;

b.) By attempting to collect a debt not yet due and which could not be stated or
collected in violation of 940 CMR 7.04(1){b)(3);

c.) The NI V fails to contain include language required by 940 CMR 7.04(1)(i);

d.) Failing to re-send required notice(s) every six (6) months as required by 940
CMR 7.04(1)(1);

e.) ll'he N I V-~ - in- demanding a debt not yetdue-violates/vielated the FDCPA,
MFDCPA and/or 940 cMR 7.07(2), (s), (16);

f.) The letter fails to identify office hours as required by 940 CIVIR 7.07(22);

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g.) 'I`he letter is an attempt to coniirm a purported “use and occupation” amount
due when Defendants knew or should have known that such an amount could
only be set by court order, thus violating 940 CL/fR 7.07(24);
h.) Acting in an unfair and deceptive manner by making claim- more than two
`(2) years alter an illegal foreclosure sale (because the subject loan had been
lawfully reseinded)- for an alleged debt where such amount(s) were never
lawfully due as described herein;
i.) As otherwise may be shown at any trial on this matter.
32.) All of the violations of the FDCPA., MFDCPA and/or 940 CMR 7.00 as stated
herein or as otherwise may be shown alter discovery and/or before or after any trial are
unfair and deceptive act(s) and ptactice(s) as defined by Chapter 93A.
33.) By letter dated March 3, 2013, the Bourkes - by and through counsel ~ made
demand for debt validation pursuant to the FDCPA, MFDCPA and 940 CMR 7.00.
34.) ln their letter dated March 3, 2013, the Bourkes also accused Attorney Hayes and
Hayes & Hayes of unfair and deceptive acts and practices - identifying the March 3,
2013 letter as a “demand” letter pursuant to Chapter 93A - related to the FDCPA,
l\/fFDCP~A and 940 CMR 7.00.
35.) Neither A'ttorney Hayes nor Hayes & Hayes ever responded to the debt validation
request nor provided any debt validation to the Bourkes.
36.) Neither Attorney Hayes nor Hayes & Hayes ever responded to the Chapter 93A
demand letter.
37.) A failure to properly respond to a debt validation request under the FDCPA,
Ml`~'DCPA and 940 CMR 7.00 represents an unfair and deceptive actor practice under
Chapter 93A.

38.) A failure to properly respond to a G.L. c. 93A letter represents an unfair and

deceptive act or practice under Chapter 93A.

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39.) On or about March 25, 2013, Attomey Hayes and Hayes & Hayes filed a
summary process eviction action on behalf of Retained in Nantucket District Court in
Docket No. 1288-SU-0017.

40.) Attorney Hayes signed the summary process complaint that was filed with the
Court

41.) ln the summary process complaint, Defendants made demand for “$69,000 use
and occupancy” [sic] and stated that an account was "‘a;ttached”.

42-) The “account attached” stated that “Use and occupancy based on fari rental value
of $3,000.00 per month (3100.00 per day), for period from April l, 2011 through
February 28, 2013. TOTAL: $69,000”.

43.) From April l, 2011 to February 28, 2013 is 685 days.

COUNT ONE
(FDCPA, MFDCPA; 940 CMR 7.00)

44.) The Bourkes repeat and re-allege the allegations in the foregoing numbered
paragraphs as more fully set forth herein

45 .) Attorney Hayes and Hayes & Hayes are “debt collectors” or “creditors” as those
tenn is defined imder the FDCPA, MFDCPA and 940 CMR 7.00 as the case may be.
46.) Retained is/are a “creditor’l as that term is deined under the FDCPA, MFDCPA
and 940 CMR 7.00.

47.) Defendants are subject to the provisions of the FDCPA, MFDCPA and 940 CMR

7.00.
48.) TIThe-Bourkes are entitled to the protections of the FDCPA, MIFDCPA and 940

CMR 7.00.

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49.) Attomey Hayes and Hayes & Hayes, by and through the NTV served on the
Bourkes in February 2013 and the summary process complaint filed in March 2013 - all
filed on behalf of Retained - seek to collect a “debt” from the Bourkes as that term is
defined imder the FDCPA, M].='DCPA and/or 940 CMR 7.00.

50.) Defendants have violated the FDCPA, analogous provisions of the MFDCPA as
well as the provisions of 940 CMR 7.00 all as stated in this Complaint and as may be
further shown alter discovery and/or before or alter trial.

51.) As a result of Defendants’ actions, the Bourkes have suEered actual damages
including but not limited to lost time from work, meetings with counsel, gas to drive to
and from counsel’s ofEce, attomey’s fees, postage, mailing and copying costs and other
expenses

52.) ' As a result ot`Defendants" actions, the Bourkes`have also suffered actual
damages in the form of severe emotional distress

53.) The emotional distress suffered by the Bourkes in this matter includes but is not
limited to sleeplessness, anger, frustrationq anxiety, shock, disbelief, confusion
embarrassman exhaustion hopelessness and, although not required, other objective
matters evidenced by physical symptomology all as may further be shown aher discovery

and/or before or after u'ial.

54.) As a result of Defendants’ actions, and in addition to their actual damages, the

Bourkes have suffered statutory damages in an amount to be determined before or after

trial for the violations of the FDCPA, MFDCPA and 940 CMR 7.00.

55.) The Bourkes also seek treble damages as well as their attorney’s fees, costs and

expenses

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COUNT TWO
(G.L. c. 93A, s. 2 and 9)

56.) 'I`he Bourkes repeat and re-allege the allegations in the foregoing numbered
paragraphs as more"fu]ly set forth herein

57.) The Bourkes sent a Chapter 93A demand letter to Defendants on or about March
3, 2013 alleging the commission of various unfair and deceptive act(s) and practice(s)
under Chapter 93A.

58.) No Defendant ever responded to the Chapter 93A demand letter.

59.) Defendants’ have violated the FDCPA, l\/iFDCPA and/or 940 CMR 7.00 as
alleged in this Complaint and/or as may further be determined alter discovery and/or
before or after trial.

60.) krespective and/or in addition to the claim(s) within the Chapter 93A demand
letter, Defendants’ violation(s) of the FDCPA represent violation(s) of Chapter 93A.
61 .) irrespective and/or in addition to the claim(s) within the Chapter 93A demand
letter, Defendants’ violation§s)~ot`~the WDCP-A represent violation(s) of Chapter 93A.
62.) Irrespective and/or in addition to the claim(s) Within the Chapter 93A demand
letter, Attorney Hayes and Hayes & Hayes’ violation(s) of the Attorney General’s

regulations at 940 Cl\/[R 7.00 (7.07) represent violation(s) Chapter 93A.

63 .) Irrespective and/.Oc inaddition to the.clai.m(s) mthinthe Chapter 93A demand

letter, Defendants’ violation(s) of the Attomey General’s regulations at 940 CMR 7.00

represent violation(s) of Chapter 93A.
64¢) ' A‘s'a~result 'ofDefendants ’»aotions, the -Bourlees:have stifferedactual damages

including but not limited to lost time from Worlc, meetings with counsel, the expense of

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gas driving to and from counsel’s onice, and incurred attorney’s fees, postage, mailing,
copying costs and other expenses

65.) As a result of Defendants’ actions, the Bourkes have also suffered actual
damages in the form of severe emotional distress as a result of conduct and action(s) of
Artorney Hayes and Hayes & Hayes in pursuing debt(s) that are not legally due from the
Bourkes as may be shown after discovery and before or aRer trial.

66.) The emotional distress suffered by the Bourkes in this matter includes but is not
limited to sleeplessness, anger, frustration, anxiety, shock, disbelief, confusion
embarrassment exhaustion, hopelessness and, although not required, other objective
matters evidenced by physical symptomology all as may further be shown after discovery
and/or before or alter trial.

67.) As a result of Defendants’ actions, and in addition to their actual damages, the
Bourkes have suffered statutory damages for the violations of Chapter 93A in an amount
to be determined alter discovery and/or before or aRer trial.

68.) The Bourkes also seek their attorney’s fees, costs and expenses

69_) Defendants’ actions as described in this complaint were Willful and knowing and
thus any damages found in the Bourkes’ favor are demanded to be trebled under Chapter

93A.

THE BOUR]C§S RESERVES THE RIGHT TO AMEND THIS CON[PLAINT AS
INFORMATION BECOMES AVAILABLE

THE BOURKES CLAIM A RIGHT TO JURY TRIAL ON ALL COUNTS SO
TRIABLE

10

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WH"EREFORE the Bourkes pray this Honorable Com't award them judgment on Counts
One and Two of their Complaint, plus treble damages, attomey’s fees and costs while
awarding any such other and further relief as the Court deems meet andjust

DA'I'ED: May 21,2013

 

Nantucket, MA

Martin and Doneyn Bourke a
By their Altorne}b_r,::-:__::z¢;

// ./ /

` /

Jamie Ranney, Esq. /
BBO#643379
Jamie Ranney, PC
4 Thirty Acres Lane
Nannwkec, MA 02554¢’

508-228-9224 (tel.)
508-815-1318 (efax)
jamie@nantuck_etlaw.pro

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COMMONWEALTH OF MASSACHUSE'I'I`S
TRIAL COURT

NAN'I'UCKET, SS Superior Court Dept
2013NACV -00 9 '

 

Martin and Doneyn Bourke
Plaintiffs
v.
Retained Realty, Inc., Stephen P.
Hayes, Hayes & Hayes, Attorneys
At Law, PC,
Defendants

 

 

S’I`ATElVfENT OF DAMAGES
Plainn`ffs bring their complaint in two (2) counts for Defendants’ violations of the F air
Debt Collecn`on"Practices A'ct`(“FDCPA”) at 15 U.S.C. 1692, et seq., and/or its
Massachusetts analog, the Massachusetts F air Debt Collecu`on Practices Act
(“MI"DCPA”) at G.L. c. 93. s. 49 as well as the MA Attorney General’s regulations at
940 CMR 7.00, et seq., and G.L. c. 93A all as detailed in Plaintiffs’ complaint The
PlaintiH"s seek statutory and actual damages, treble damages and their attorney’s fees and
costs. Plainti& seek damages in the amount of $30,000.00 or in an amount to be

determined before or alter trial.

PLAINTIFFS RESERVE THE RIGHT TO Al\lIEND 'I`HIS STATEMEN'I` OF

_)LAM_M_S_

 

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DA'I'ED: May 21, 2013
Nantuckct, MA

m.. .EE
MartinandDoneynBourke

By their Att,o,rlz_igv_,,_`/ .

,/W/

Jam.ie Ranney, Esq.
BBO#643379

Jam.ie Ranney, P

4 Thirty Acres c
Nanm¢ket, MA 02554
503-228-9224 (tel-)
508-815-1318 (efax)
jamie@nantucketlaw.pro

 

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THALCGUHTOFM.ASSAG-|USET?S
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PLA|NTIFF(s) 39 ‘*l"(’ oEFENoANT(s) M'»D¢UJL»~$ Pv’i“ok\~\ PC
, l .~ _, C-
E'»er~w\m gem/rf twa .

 

 

 

Type Plaintlff's Attomey name, Address, City!State&Ilp Type Defendants Attomey Name. Address, Citnylate!Zip
PhoneNumber.and,BBO# ,.. . Phone Niu:nben(lf Knowu)

 

M\LC'<MN\¢"\ issuance pepper ?u
o\¢gi\-\W\peerzr;‘> panel

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9>‘€>.21¢;:»~11'2% <'Bc¢ 69 ”>°>=’r’i

TYPE OF ACTION AND TRACK DESIGNATION (See reverse sid e)
CODE NO. TYPE OF ACTION (spedfy) filch IS THIS AJ'URY CASE?

Dq`§l %Jl\'es C;.l No

 

 

 

 

 

 

 

 

The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
money damages For this form, disregard double or treble damage claims; indicate single damages only.

TQR'I` Q_]`E !A lM§
(A.ttach additiona.ls _§g_ts__a_s‘n_ecessary)

A. Documented medical expenses to date:
1. 'I`ota.l hospital expenses .
2. 'l`otal doctor expenses -- --~ ..
3. 'l`otal chiropractic expenses
4. Total ph real therapy expenses
5. fatal ot er expenses (dacribe)

-' ,'f_`,i<§§

Documeoted lost wages and compensation to d`z‘t"fe_` _ .
Ducumented prpp erty damages to date '- - "-_"_Jl_!i'_“-L \_Q&EH
Reasonably anticipated future medical expenses _ ' '
Reasonably amici ated lost wages and compbensahon to date
Other docmnente items ut` damages (descr e) $

G. Brief description of plaintiffs injury, including nature and extent of injury (descr_ibe)

 

C£¢(AM\Q$M

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- _… _ g Subtotal

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?LEA.SE ]DENTIFY, B¥ CASE NUiVBER, NAME AND COU'N'I'Y,
COUR`I' DEPA_R'I'I\'[ENT |,

“f hereby certify thatl have complied W'lth die requirements of Ruie$ 05 the Supreme J'udicial Court Uniform Rules on Dlspute stolution (SJC

Role 1:18] requiring that 1 provide my clients with informs on ourt-connected dispute resolution services and discuss with diem the
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4 THlRTY ACRES l__ANE
NANrucKEr, MA 02554
508.228.9224 (PHONE)/ 508.81 51 318 (EFAX)
JAMlE@NAi\rrucKErLAW.PRO

May21,2013

VIA HAND DELIVERY
Mary E. Adams, Clerk
Nantucket Superior Court
16 Broad Street
Nantucket, MA 02554

RE: Martin and Doneyn Bourke v. Stephen P. Hayes, et al
Nantucket superior court Docket No. 2013NACV4)0 913

Dea.r Ms. Adams:

With regard to the above-entitled aciion, enclosed please find;

1.) Civil Action Cover Sheet;

2`) Original Complaint;

3 .) Statement of Damages;

4.) Mass. R. Civ. P. Rule 4(0) Moijon for Appointment ofProcess Server;

5.) Check for $310.00 for filing fee ($295.00) and three (3) original summonses ($15.00).

Please record and Ele. /’”" ‘)

   
 
  

Sincerely, . __ »

_/

Jamie Ranney, Esq.
Attomey for Bourke

.TTR:dat
cc: clients; file;

 

